     Case 8:20-cv-01658-CJC-ADS Document 43 Filed 09/30/20 Page 1 of 2 Page ID #:30



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      Attorney for Defendants
7     C. R. BARD, INC.,
8     BARD PERIPHERAL VASCULAR INC. and
      MCKESSON CORPORATION
9
10
11                            UNITED STATES DISTRICT COURT
12                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14 JONATHAN MOFFETT,                         CASE NO.: 8:20-cv-01658-CJC-ADS
15
            Plaintiff,                       Assigned to Hon. Cormac J. Carney
16
      vs.                                    STIPULATION TO DISMISS CLAIMS
17                                           AGAINST McKESSON
18 C. R. BARD, INC., BARD                    CORPORATION WITHOUT
                                             PREJUDICE
19 PERIPHERAL VASCULAR INC. and
   McKESSON CORPORATION, and
20 DOES 1-100, inclusive,
                                             Action Transferred to C.D. Cal.: 9/16/2020
21
            Defendants.
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        STIPULATION TO DISMISS CLAIMS AGAINST McKESSON CORPORATION
                             WITHOUT PREJUDICE
     Case 8:20-cv-01658-CJC-ADS Document 43 Filed 09/30/20 Page 2 of 2 Page ID #:31



 1          Plaintiff Jonathan Moffett and Defendants C. R. Bard, Inc., Bard Peripheral

 2 Vascular, Inc., and McKesson Corporation stipulate that pursuant to Rule 41(a)(1)(A)(ii)
 3
      of the Federal Rules of Civil Procedure, the Complaint and all causes of action against
 4
 5 Defendant McKesson Corporation are dismissed without prejudice, with each party to bear
 6 its own costs and fees.
 7
 8
 9          DATED this 30th day of September 2020.
10
11
       FEARS NACHAWATI, PLLC                     GREENBERG TRAURIG, LLP
12
       By: /s/ Arati C. Furness                  By: /s/ Daniell K. Newman
13
          Arati C. Furness                              Daniell K. Newman
14
          Attorney for Plaintiff                        Attorney for C. R. Bard, Inc., Bard
15                                                      Peripheral Vascular, Inc., and McKesson
16                                                      Corporation
17
            Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that Arati C. Furness,
18
19 on whose behalf this filing is jointly submitted, has concurred in this filing’s content and
20
      has authorized me to file this document.
21
                                                 GREENBERG TRAURIG, LLP
22
23                                               By: /s/ Daniell K. Newman
24                                                  Daniell K. Newman

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        STIPULATION TO DISMISS CLAIMS AGAINST McKESSON CORPORATION
                             WITHOUT PREJUDICE
